JS 44 (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and
provided by local rules of court. This form, approved by the Judicial Conference of the United States in Septe

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

service of pleadin
mber 1974, is required for the use of the

Case 2:18-cv-05286, GA Deep R Sep gepl 2/07/18 Page 1 of 35

igs or other papers as required by law, except as

lerk of Court for the

I. (a) PLAINTIFFS
1009 Clinton Properties, LLC

(b) County of Residence of First Listed Plaintiff Montgomery
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Mario Barnabei, Esquire - Wheeler, DiUlio & Barnabei, PC
One Penn Center, Suite 1270, 1617 JFK Boulevard
Philadelphia, PA 19103 - (215) 568-2900

DEFENDANTS

Attorneys (If Known)

County of Residence of First Listed Defendant

State Farm Fire and Casualty Company

McLean, IL

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Yolanda Konopacka DeSipio, Esquire, 960 Harvest Drive, Building B,
Suite 100, Blue Bell, PA 19422; (267) 654-1116

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(Far Diversity Cases Only) and One Box for Defendant)
O01 US. Government 0 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State XK 1 O 1 Incorporated or Principal Place ao4 04
of Business In This State
0 2 US. Government if 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os os
Defendant (Indicate Citizenship of Parties in Item HI} of Business In Another State
Citizen or Subject of a oO 3 © 3. Foreign Nation o6 O6
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
l CONTRACT TORTS FOREEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
0 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
O 120 Marine 0 310 Airplane 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act G 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability 0 367 Health Care/ 0 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury C1 820 Copyrights 0 430 Banks and Banking
GO 151 Medicare Act 0 330 Federal Employers’ Product Liability 0 830 Patent OG 450 Commerce
O 152 Recovery of Defaulted Liability 1 368 Asbestos Personal © 835 Patent - Abbreviated C1 460 Deportation
Student Loans 1 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability O 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY 0 480 Consumer Credit
of Veteran’s Benefits G 350 Motor Vehicle 0 370 Other Fraud O 710 Fair Labor Standards 01 861 HIA (1395ff) 01 490 Cable/Sat TV
1 160 Stockholders’ Suits 01 355 Motor Vehicle O 371 Truth in Lending Act ©) 862 Black Lung (923) 0 850 Securities/Commodities/
O 190 Other Contract Product Liability 1 380 Other Personal O 720 Labor/Management G 863 DIWC/DIWW (405(g)) Exchange
OC 195 Contract Product Liability | 360 Other Personal Property Damage Relations 1 864 SSID Title XVI O 890 Other Statutory Actions
0 196 Franchise Injury C1 385 Property Damage 0 740 Railway Labor Act O 865 RSI (405(g)) 0 891 Agricultural Acts
© 362 Personal Injury - Product Liability O 751 Family and Medical O 893 Environmental Matters
Medical Malpractice Leave Act 0 895 Freedom of Information
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _ | 790 Other Labor Litigation FEDERAL TAX SUITS Act
0 210 Land Condemnation (1 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement 0 870 Taxes (U.S, Plaintiff 1 896 Arbitration
DB 220 Foreclosure 0 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure
1 230 Rent Lease & Ejectment 442 Employment © 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
0 240 Torts to Land 6 443 Housing/ Sentence 26 USC 7609 Agency Decision
1 245 Tort Product Liability Accommodations 0 530 General ( 950 Constitutionality of
O 290 All Other Real Property 0 445 Amer. w/Disabilities -] 0 535 Death Penalty IMMIGRATION State Statutes
Employment Other: O 462 Naturalization Application
O 446 Amer. w/Disabilities -] O 540 Mandamus & Other | 465 Other Immigration
Other O 550 Civil Rights Actions
C448 Education 0 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an "X” in One Box Only)
O1 Original 112 Removed from O 3  Remanded from O 4 Reinstated or O 5 Transferred from © 6 Multidistrict 4 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

28 U.S.C. § 1332, 1441 & 1446

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 75,000.00 JURY DEMAND: {Yes ONo
VII. RELATED CASE(S) oe
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD)
12/07/2018 Uatand. K- Dede gur
FOR OFFICE USE ONLY = = 1
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:18-0v-Q9 05 PRE BNE PERRFION GR Page 2 of 5

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case Jor the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 100 Aaron Way, North Wales, PA 19454

Address of Defendant: One State Farm Plaza, Bloomington, IL 61701-0001
1428 S. Vodges Street, Philadelphia, PA 19143

Place of Accident, Incident or Transaction:

RELATED CASE, IF ANY:

Case Number: _ __ Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes No
previously terminated action in this court?

IS]

XN

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No
pending or within one year previously terminated action in this court?

S|

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No
case filed by the same individual?

IS

I certify that, to my knowledge, the within case [1] is / [2] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

pare, 12/07/2018 UtandeW. Dede «62170

Ath bney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

CIVIL: (Place a ¥ in one category only)

A Federal Question Cases: B. Diversity Jurisdiction Cases:
CJ 1. Indemnity Contract, Marine Contract, and All Other Contracts (] 1. Insurance Contract and Other Contracts
[] 2. FELA [] 2. Airplane Personal Injury
CI 3. Jones Act-Personal Injury Cl] 3. Assault, Defamation
Cl 4. Antitrust [J 4. Marine Personal Injury
[] 5. Patent [] 5. Motor Vehicle Personal Injury
LJ 6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
C1 7. Civil Rights Ll] 7. Products Liability
(1 8. Habeas Corpus CI] 8. Products Liability — Asbestos
[] 9% Securities Act(s) Cases [] 9. All other Diversity Cases
[] 10. Social Security Review Cases (Please specify):
CJ 11. All other Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION

(The effect of this certification is to remove the case from eligibility for arbitration.)

L . counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

DATE:

Attorney-at-Law / Pro Se Plaintiff Attorney 1D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (3/2018)

Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 3 of 35

IN THE UNITED STATES DISTRICT COURT-
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

1009 CLINTON PROPERTIES, LLC

CIVIL ACTION NO.
vs.
STATE FARM FIRE AND CASUALTY _ :
COMPANY : JURY TRIAL OF 12 DEMANDED

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff
shall complete a Case Management Track Designation Form in all civil cases at the time of filing the
complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side of
this form.) In the event that a defendant does not agree with the plaintiff regarding said designation,
that defendant shall, with its first appearance, submit to the clerk of court and serve on the plaintiff and
all other parties, a Case Management Track Designation Form specifying the track to which that
defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a)
(b)

(c)
(d)

(e)

(f)

Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255.

Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.

Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

Standard Management — Cases that do not fall into any one of the other tracks.

Uilande Korpeda tebiper

12/07/18 da Konopacka DeSipio

(X)

Date Attorney-at-law (Attorney for Defendant)

267-654-1116 267-654-1122 desipio@bbs-law.com

Telephone FAX Number E-Mail Address
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 4 of 35

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

1009 CLINTON PROPERTIES, LLC

CIVIL ACTION NO.
vs.
STATE FARM FIRE AND CASUALTY _ :
COMPANY : JURY TRIAL OF 12 DEMANDED

NOTICE FOR REMOVAL OF CIVIL ACTION
FROM STATE COURT

AND NOW, comes defendant, State Farm Fire and Casualty Company (hereinafter
“Defendant” or “Defendant State Farm”) for the purpose only of removing the case to the United
States District Court for the Eastern District of Pennsylvania and respectfully avers as follows:

1. This is a civil action filed and now pending in the Court of Common Pleas of
Philadelphia County, Pennsylvania, November Term, 2018, Docket No. 1168.

2. Said action was commenced by the filing of a Civil Action Complaint on November
9,2018. Acopy of plaintiff's Complaint is attached hereto and marked as Exhibit “1”.

3. The averments made herein are true and correct with respect to the date on which
suit was commenced and the date upon which this notice is being filed.

4. This suit is of a civil nature and involves a controversy between citizens of different
states. Plaintiff is a citizen of the Commonwealth of Pennsylvania. Defendant State Farm is
now, and was at the time plaintiff commenced this action and filed the Complaint, a corporation
organized under the laws of the State of Illinois and with its principal place of business at One
State Farm Plaza, Bloomington, Illinois.

5. Defendant State Farm Fire has with the filing of this notice, given written notice to

plaintiff's counsel.
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 5 of 35

6. Defendant State Farm is also filing a copy of the instant notice of removal and all
attachments thereto with the Prothonotary of the Court of Common Pleas of Philadelphia County.
7. Defendant seeks to remove this matter to the United States District Court for the
Eastern District of Pennsylvania. Defendant asserts that the amount in controversy in this matter
exceeds $75,000 based on plaintiffs Complaint. As the moving party, defendant bears the

burden of proving that jurisdiction is proper in federal court. Russ vs. State Farm Mut. Auto. Ins.

Co., 961 F.Supp. 808, 810 (E.D. Pa. 1997).

8. In determining whether the jurisdictional amount has been satisfied, the Court must

first look at the Complaint. Angus vs. Shiley, Inc., 989 F.2d 142, 145 (3rd Cire. 1993).

9. The Complaint asserts two causes of action against Defendant: (1) Breach of
Contract (Count I); and (2) Statutory Bad Faith pursuant to 42 Pa.C.S.A. § 8371.

10. The underlying lawsuit as alleged in the Complaint arises out of Defendant’s
handling and investigation of an alleged loss at plaintiffs property located at 1426 S. Vodges St.,
Philadelphia, PA 19143-5304, allegedly resulting in damage to the property. See Exhibit “1"

11. The Complaint alleges building repair damages from the subject incident totaling
$90,374.19. See Exhibit “1", at § 4, and Exhibit “B” attached thereto (repair estimate by Property
Loss Advisors). Defendant inspected the subject property, obtained information and documents
from plaintiff/plaintiffs public adjuster, and fully investigated the claim. Based on its
investigation, Defendant determined that there was no coverage for the subject incident and that
the subject incident was expressly excluded from coverage under the terms, conditions and
exclusions of the subject policy of insurance. Accordingly, the contractual amount in controversy

between the parties for building damages is presently approximately $90,374.19.
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 6 of 35

12.‘ Further, in Count II of the Complaint, for bad faith pursuant to 42 Pa. C.S.A. §8371,
in addition to compensatory and/or consequential damages, plaintiff seeks inter alia punitive
damages, attorney’s fees, costs and statutory interest. See Exhibit “1", at Count II, J 16.

13. | Whether both actual and punitive damages are recoverable, punitive damages are
properly considered in determining whether the jurisdictional amount has been satisfied. Bell vs.

Preferred Life Assurance Soc’ y, 320 U.S. 238, 240, 88 L. Ed. 15, 64'S. Ct. 5 (1943). If plaintiff

is able to sustain a finding of bad faith, although the same is disputed by moving Defendant, it is
not unreasonable to expect that a punitive damage award five or six times the amount in
controversy, or beyond, could be rendered by the trier of fact.

14. “If appropriately made .. . claims for punitive damages will generally satisfy the
amount in controversy requirement because it cannot be stated to a legal certainty that the value of

the plaintiffs claim is below the statutory minimum.” Huber v. Taylor, 2008 WL 2697774, 3

(3rd Cir. 2008)(citing to Golden ex rel. Golden v. Golden, 382 F.3d 348 (3rd Cir. 2004)).

15. | Moreover, attorney’s fees must also be included in determining the amount in

controversy. Neff vs. General Motors Corp., 163 F.R.D. 478, 482 (E.D. Pa. 1995). It would not

be unreasonable to expect that over the course of an approximate nine month litigation of this
nature, counsel could incur costs and fees in an amount approaching $25,000.

16. Given plaintiffs claims for breach of contract and bad faith, coupled with plaintiff’ s
demand for punitive damages and attorney’s fees, the amount in controversy in this case is in
excess of the $75,000 jurisdictional threshold for removal to Federal Court, in accordance with 28
§ 1332(a).

17. Defendant reiterates its demand for a jury trial of twelve.
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 7 of 35

WHEREFORE, Defendant, State Farm Fire and Casualty Company, hereby removes this

suit to this Honorable Court pursuant to the laws of the United States in such cases made and

provided.

A

pf, |
BY: Y onde p Sylej
YOLANDA KONOPACKA DESIPIO, ESQUIRE
ROBERT T. GROLNICK, ESQUIRE
Attorneys for Defendant
Attorney ID Nos: 62170/82173
BENNETT, BRICKLIN & SALTZBURG LLC
960 Harvest Drive
Building B, Suite 100
Blue Bell, PA 19422
(267) 654-1100

Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 8 of 35

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

1009 CLINTON PROPERTIES, LLC

CIVIL ACTION NO.
VS.
STATE FARM FIRE AND CASUALTY ~ :
COMPANY : JURY TRIAL OF 12 DEMANDED
NOTICE OF REMOVAL

TO: Mario Barnabei, Esquire
Wheeler, DiUlio & Barnabei, P.C.
One Penn Center — Suite 1270
1617 JFK Boulevard
Philadelphia, PA 19103

PLEASE TAKE NOTICE that defendant, State Farm Fire and Casualty Company, has filed

in this Court a verified Notice for Removal of the State Court action, 1009 Clinton Properties. LLC

v. State Farm Fire and Casualty Company, now pending in the Court of Common Pleas of

Philadelphia County, Pennsylvania, at docket number November Term, 2018, No. 01168.
PLEASE TAKE FURTHER NOTICE that a certified copy of the Notice of Removal will

be filed with the Prothonotary of the Court of Common Pleas of Philadelphia County,

Pennsylvania.
PLEASE BE ADVISED that by virtue of 28 U.S.C. §1446(f), the State action is now

removed to this Court. The State Court has no further jurisdiction over this action and you should

proceed no further in that Court or under its authority.

BY: Y i { gr At KR { pac { K Nats
YOLANDA KONOPACKA DESIPIO, ESQUIRE
ROBERT T. GROLNICK, ESQUIRE
Attorneys for Defendant
Attorney ID Nos: 62170/82173
BENNETT, BRICKLIN & SALTZBURG LLC
960 Harvest Drive
Building B, Suite 100
Blue Bell, PA 19422
(267) 654-1100

Date: 12/07/18
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 9 of 35

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

1009 CLINTON PROPERTIES, LLC
CIVIL ACTION NO.

VS.

STATE FARM FIRE AND CASUALTY
COMPANY : JURY TRIAL OF 12 DEMANDED

DEFENDANT’S CERTIFICATION OF FILING OF
COPY OF NOTICE OF REMOVAL WITH STATE COURT

I, being duly sworn according to law, state that I am an attorney with the law firm of

Bennett, Bricklin & Saltzburg LLC, attorneys for defendant, State Farm Fire and Casualty

Company; and that

I did direct the filing with the Prothonotary of the Court of Common Pleas of Philadelphia

County a copy of the Notice of Removal, attached hereto, said filing to be made on or about

December 7, 2018.

BY: L fad & a p € lig Net Lidl 4
YOLANDA KONOPACKA DESIPIO, ESQUIRE
ROBERT T. GROLNICK, ESQUIRE
Attorneys for Defendant
Attorney ID Nos: 62170/82173
BENNETT, BRICKLIN & SALTZBURG LLC
960 Harvest Drive
Building B, Suite 100
Blue Bell, PA 19422
(267) 654-1100

Sworn to and subscribed
beforeme this 7" day

Lm btr , 2018.
Meg li Mtr. beans

NOTAR Y PUBLIC

meaty Suey ie teary ac

Phitadetphia Count
ity Commission Expires Dec "ber 1
Commission Number s04eyes” 2021

Case 2:18-cv-05286-CFK Document 1 Filed 12/07/18 Page 10 of 35

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

1009 CLINTON PROPERTIES, LLC

CIVIL ACTION NO.
VS.
STATE FARM FIRE AND CASUALTY
COMPANY : Jury Trial of 12 Demanded
CERTIFICATE OF SERVICE

I, being duly sworn according to law, state that I am an attorney with the law firm of
Bennett, Bricklin & Saltzburg LLC, attorneys for defendant, State Farm Fire and Casualty
Company, and that a true and correct copy of this Removal Petition was filed electronically and is
available for viewing and downloading from the Electronic Case filing system, and that a copy has
been served via United States Mail, postage pre-paid, which constitutes service upon the following

counsel of record:

Mario Barnabei, Esquire

Wheeler, DiUlio & Barnabei, P.C.
One Penn Center — Suite 1270
1617 JFK Boulevard

Philadelphia, PA 19103

BY: poli Land Keno peck Neh hs

YOLA NDA KONOPACKA DESIPIO, ESQUIRE
YOUN T. GROLNICK, ESQUIRE

Attorneys for Defendant

Attorney ID Nos: 62170/82173

BENNETT, BRICKLIN & SALTZBURG LLC
960 Harvest Drive

Building B, Suite 100

Blue Bell, PA 19422

(267) 654-1100

Date: 12/07/18
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 11 of 35

AFFIDAVIT
I, being duly sworn according to law, do hereby depose and state that I am an attorney for
Defendant, State Farm Fire and Casualty Company, the Petitioner in the foregoing Notice of
Removal, that I have been duly authorized by the Petitioner to execute this Affidavit, that I am
familiar with the facts involved in this matter, and that the allegations set forth in the foregoing

Notice of Removal are true and correct to the best of my knowledge, information and belief.

Ub Arde Kone pact De. Fyle
YOLANDA KONOPACKA DESIPIO, ESQUIRE
ROBERT T. GROLNICK, ESQUIRE

Sworn to and subscribed
befor me this 7” Be nis Te

fa ne cllndvnat?

NOTARY PUBLIC

Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 12 of 35

EXHIBIT “1”
Case 2:18-cv-05286-CFK Document 1 Filed 12/07/18 Page 13 of 35

WHEELER, DiULIO & BARNABEL P.C.
BY: Mario Barnabei, Esquire

Attorney I.D. No.: 317791

One Penn Center - Suite 1270

1617 JFK Boulevard

Philadelphia, PA 19103

Phone: (215) 568-2900

Email: mbarnabei(@wdblegal.com

1009 Clinton Properties, LLC
100 Aaron Way,
North Wales, PA, 19454-5304

VS.

State Farm Fire and Casualty Company
One State Farm Plaza
Bloomington, IL 61701

gong,

ix ay \

THIS IS NOT AN ARBITRATION C“ Sst

JURY TRIAL WAIVED. Filed ,ahd A Satet\\by the
Office Be. gas decozas

Atioiiey Bee baitiyem

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

TERM, 2018

DOCKET NO.

CIVIL ACTION COMPLAINT (1C - Contract)

NOTICE

You have been sued in court. If you wish to defend
against the claims set forth in the following pages, you must
take action within twenty (20) days after this complaint and
notice are served, by entering a written appearance personally
or by attomey and filing in writing with the court your
defenses or objections to the Claims set forth against you. You
are warned that if you fail to do so the case may proceed
without you and a judgment may be entered against you by the
court without further notice for any money claimed in the
complaint or for any other claim or relief requested by the
plaintiff. You may lose money or property or other rights
important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR
LAWYER AT ONCE. IF YOU DO NOT HAVE A
LAWYER, GO TO OR TELEPHONE THE OFFICE SET
FORTH BELOW TO FIND OUT WHERE YOU CAN GET
LEGAL HELP.

PHILADELPHIA BAR ASSOCIATION
Lawyer Referral Service
1101 Market St., 11th Floor
Philadelphia, PA 19107-2911
Telephone: 215-238-6333
Fax: 215-238-1159

AVISO

Le han demandado a usted en la corte. Si usted
quiere defenderse de estas demandas expuestas en las paginas
siguientes, usted tiene veinte (20) dias de plazo al partir de la
fecha de la demanda y la notificacion. Hace falta ascentar una
comparencia escrita 0 en persona o con un abogado y entregar
a la corte en forma escrita sus defensas 0 sus objeciones a las
demandas en contra de su persona. Sea avisado que si usted no
se defiende, la corte tomara medidas y puede continuar la
demanda en contra suya sin previo aviso o notificacion.
Ademas, la corte puede decider a favor del demandante y
requiere que usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus propiedades u otros
derechos importantes para usted.

LLEVE ESTA DEMANDA A UN ABOGADO
IMMEDIATAMENTE. S81 NO TIENE ABOGADO O SI NO
TIENE EL DINERO SUFICIENTE DE PAGAR TAL
SERVICIO. VAYA EN PERSONA O LLAME POR
TELEFONO A LA OFICINA CUYA DIRECCION SE
ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.

ASOCIACION DE LICENCIADOS DE FILADELFIA

Servicio De Referencia E Informacion Legal

1101 Market Street, 11" Floor
Filadelfia, Pennsylvania 19107
(215) 238-6333

Case ID: 18110116€
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 14 of 35

THIS IS NOT AN ARBITRATION CASE.
JURY TRIAL WAIVED.

WHEELER, DiULIO & BARNABEI, P.C.

BY: Mario Barnabei, Esquire Attorney for Plaintiff(s)
Attomey 1.D. No.: 317791

One Penn Center - Suite 1270

1617 JFK Boulevard

Philadelphia, PA 19103

Phone: (215) 568-2900

Email: mbarnabei(@wdblegal.com

. . COURT OF COMMON PLEAS
100 Aaron Way,
North Wales, PA, 19454-5304

TERM, 2018

vs.
State Farm Fire and Casualty Company DOCKET NO.
One State Farm Plaza
Bloomington, IL 61701

CIVIL ACTION COMPLAINT (1C - Contract)
1. Plaintiff, 1009 Clinton Properties, LLC is a corporate entity duly organized and

existing under the laws of the Commonwealth of Pennsylvania which maintains its principal
place of business at the address set forth above.

2. Defendant, State Farm Fire and Casualty Company, is a corporation duly
organized and existing which is authorized to conduct business as an insurance company within
the Commonwealth of Pennsylvania and maintains a place of business for that purpose at the
address set forth above and regularly issues policies of insurance within the City and County of
Philadelphia.

3. Defendant, in its regular course of business issued to Plaintiff a policy of

insurance ("the Policy") covering Plaintiff's property located at 1426 S. Vodges St., Philadelphia

Case ID: 181101168
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 15 of 35

PA 19143-5304 ("the Property"). A true and correct copy of the declarations page of said policy
is attached hereto and incorporated herein as Exhibit "A."

4. On or about January 18, 2018, while the Policy was in full force and effect,
Plaintiff suffered direct physical loss and damage to the insured Property believed to be the result
of a peril insured against under the Policy, resulting in damage to the insured premises and those
areas and to the extent set forth in the preliminary estimate of loss, a true and correct copy of
which is attached hereto, made part hereof and marked Exhibit "B."

5. Notice of this covered loss was given to Defendant in a prompt and timely manner
and Plaintiff, at all relevant times, fully complied with all of the terms and conditions required by
the Policy.

6. Defendant, despite demand for benefits under the Policy, has refused, without
legal justification or cause, and continues to refuse, to pay to Plaintiff monies owed for the
damages suffered as a result of the Loss.

7. Solely as a result of Defendant's failure and refusal to pay benefits to Plaintiff as

required under the Policy, Plaintiff has suffered loss and damage in an amount in excess of

$50,000.00.
COUNT I
In Assumpsit - Breach of Contract
8. Plaintiff incorporates by reference the facts and allegations contained in the

foregoing paragraphs as though fully set forth hereinafter at length.
9. Defendant is obligated by the terms of the contract to indemnify Plaintiff's loss.
10. Despite submission of reasonable proof and demand for full and complete
payment with respect to Plaintiff's Loss, Defendant has not paid to Plaintiff all of the policy

benefits to which they are entitled under the Policy.

Case ID: 18110116§
Case 2:18-cv-05286-CFK Document 1 Filed 12/07/18 Page 16 of 35

11. Defendant’s denial of coverage was made without a reasonable basis in fact.

12. Defendant's refusal to indemnify Plaintiff's loss constitutes a breach of the
insurance contract.

WHEREFORE, Plaintiff demands judgment against Defendant in an amount in excess of
$50,000.00, together with interest and court costs.

COUNT II
In Trespass - 42 Pa.C.S.A. §8371

13. Plaintiff incorporates by reference the facts and allegations contained in the
foregoing paragraphs as though fully set forth hereinafter at length.

14. Defendant has engaged in bad faith conduct toward Plaintiff with respect to its
adjustment of Plaintiffs covered Loss, in violation of 42 Pa.C.8.A. §8371 et seq.

15. ‘In furtherance of its bad faith and wrongful denial and refusal to pay benefits for
Plaintiff's covered Loss, Defendant, acting by and through its duly authorized agents, servants,
workmen or employees has engaged in the following conduct:

a. by sending correspondence falsely representing that Plaintiff’s loss caused
by a peril insured against under the Policy was not entitled to benefits due and owing under the
Policy;

b. in failing to complete a prompt and thorough investigation of Plaintiff's

claim before representing that such claim is not covered under the Policy;

c. in failing to pay Plaintiffs covered loss in a prompt and timely manner;

d. in failing to objectively and fairly evaluate Plaintiffs claim;

€. in conducting an unfair and unreasonable investigation of Plaintiff’ s
claim;

f. in asserting Policy defenses without a reasonable basis in fact;

Case ID: 18110116€
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 17 of 35

g. in flatly misrepresenting pertinent facts or policy provisions relating to
coverages at issue and placing unduly restrictive interpretations on the Policy and/or claim forms;

h. in failing to keep Plaintiff or their representatives fairly and adequately
advised as to the status of the claim;

i. in unreasonably valuing the loss and failing to fairly negotiate the amount of
the loss with Plaintiff or their representatives;

j. in failing to promptly provide a reasonable factual explanation of the basis for

the denial of Plaintiff's claim;

k. in unreasonably withholding policy benefits;
lL. in acting unreasonably and unfairly in response to Plaintiff's claim;
m. in unnecessarily and unreasonably compelling Plaintiff to institute this

lawsuit to obtain policy benefits for a covered loss, that Defendant should have paid promptly and
without the necessity of litigation.

16. For the reasons set forth above, Defendant has acted in bad faith in violation of 42
Pa.C.S.A. §8371, for which Defendant is liable for statutory damages including interest from the date
the claim was made in an amount equal to the prime rate of interest plus three percent, court costs,
attorneys’ fees, punitive damages, and such other compensatory and/or consequential damages as are
permitted by law.

WHEREFORE, Plaintiff demands judgment against Defendant in an amount in excess of

$50,000.00, together with interest, court costs, counsel fees and damages for delay.

WHEELER, DiULIO & BARNABEL, P.C.

BY: _/s/ Mario Barnabei
Mario Barnabei, ESQUIRE
Attorney for Plaintiff(s)

Case ID: 18110116&
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 18 of 35

Civil Action Complaint
VERIFICATION

The undersigned hereby states that he is the plaintiff in this action and that the statements of
fact made in the foregoing document are true and correct to the best of his information and belief.
The undersigned understands that the statements herein are made subject to the penalties of 18 Pa.

Cons. Stat. Ann. § 4904 relating to unsworn falsification to authorities.

DATE: ol | 1% Da

CLINTON PROPERTIES, LLC

Case ID: 18110116£
Statefarm

{00 State Farm
Galstor Sane, NY 12020-8000
Named Insured

AT2 Q

1009 CLIN 900711 goag Ss '2-024B-FBDO
TON

i009 CLINTON PROPERTIES, LLC

NORTH WALES PA

A

19654-4270

Be
ae EP

DeAe ere Egy Meal an deed Een ye degen footy

+ watt

STAY

0304-0297

RENTAL DWELLING POLICY- SPECIAL FORM 3

PSE Sw PUES LIEN wc DARUMALL

DEC =
ECLARATIONS PAGE

Policy Numbor

98-EC-W747-1

12 Ettestive
ae Months DEG & 2017 o < 5.2018
standard ine sree ae Onbe Wenieabe tee

Autom mT

tomatic Renewal - if the policy period is shown as 12 months, this policy will be renewed automatically subject to the
policy period. If this policy Is terminated, we will give you and the

provisions or-as required: by law. '

premivms, rules and forms in effect for each seod|
Mortgagee/Lienholder written. notice In SoM Iaacee oat ine pol

Location of Prami
1458 6 VODGHA SF
PHILADELPHIA PA 19143-5304

Named Insured: Limited Liabitity Company

Limits of Liability
; 79,500

Coverages & Property

Section |
A

B
C

Dwelling Pex
Dwelling Extension
Personal Property
Loss of Rents

7,950
3,975
Actual Loss

Section I!
Business Liability
eo Occurrence)
nnual Aggregate
Medical Payments
(Each Person)

intlation Coverage index: 259-1
Deductibles - Section! :

Basic 5%

in case of loss under this policy.

oss. Other deductibles may

$ 3,975

the deductibles will be applied

ar occurrence and will be deducted from the amount of the
apply - refer to policy.

Forms, Options, & Endorsements

Special Form 3
Fental Dwelling
Actual Cash V.
Fungus Exe!

adified Re
Moditiee ory Endorsemen
Debris Removal Endorsement
Mandatory Reporting Endorsement

Foy Pad
scoun :
Home Niet

i Othe limits and exclusions

any en dorsements

SARY WINKLER
Gi 95-6900

(CONTINUED)

may apply - refer to your policy a

$ 584.00

Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 20 of 35

Property Loss Advisors

1101 Kathy Drive
Yardley, PA 19067

Insured: Clinton Properties
Property: 1426 Vodges St
Philadelphia, PA 19143-5304

Claim Rep.: John Brandes Business: (888) 707-3262
Estimator: John Brandes Business: (888) 707-3262
Claim Number: Policy Number: 98-EC-W747-1 Type of Loss: Freeze
Date of Loss: 1/18/2018 Date Received:
Date Inspected: Date Entered: 2/14/2018 7:55 AM

Price List! PAPH7X_FEB18
Restoration/Service/Remodel
Estimate: 2018-02-14-0755

Estimate information provided herein may be based on preliminary review and subject to correction, revisions, additions and
deletions. Though this materials proof read, it may contain Typographical and/or other errors beyond our control. Rights reserved
to change portions of the attached or supplemental information therein. Portions of the information contained herein may be
compiled by the use of computer or other electronically generated means, Any errors or omissions either by virtue of misprint or
by incorrect entries by a date processor should be considered a typographical error. We attempt to proof read all entries but the
information contained herein has not been subject to scrupulous auditing and review.

Case ID: 18110116§
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 21 of 35

Property Loss Advisors

1101 Kathy Drive
Yardley, PA 19067

2018-02-14-0755

Basement
7 Basement Height: 8'
864.00 SF Walls 560.00 SF Ceiling
mua | 1,424.00 SF Walls & Ceiling 560.00 SF Floor
62.22 SY Flooring 108.00 LF Floor Perimeter
108.00 LF Ceil. Perimeter

DESCRIPTION QNTY REMOVE REPLACE TOTAL

R&R Boiler - natural gas - 130,000 BTU 1.00 EA 116.53 3,983.48 4,100.01

R&R Breaker panel - 200 amp w/arc fault 1.00 EA 152.44 2,099.29 2,251.73

breakers

Megohmmeter check electrical circuits - 1.00 EA 0.00 103.12 103.12

single circuit

R&R Water heater - 50 gallon - Gas - 12 yr 1.00 EA 48.61 1,290.68 1,339.29

Seal floor or ceiling joist system 560.00 SF 0.00 0.98 548.80

Seal masonry - elastomeric sealer 864.00 SF 0.00 0.72 622.08

Water seal the walls

Clean concrete the floor 560.00 SF 0,00 0.22 123.20

Finish Carpenter - per hour 8.00 HR 0.00 63.75 510.00

Labor to rebuild shelves and stair repair

Totals: Basement 9,598.23
9,598.23

Total; Bascment

First Floor
Kitchen Height: 8' 4"
| 382.61 SF Walls 144.34 SF Ceiling
& 526.95 SF Walls & Ceiling 144,34 SF Floor
e 16.04 SY Flooring 45.31 LF Floor Perimeter
| 48.31 LF Ceil. Perimeter

Missing Wall - Goes to Floor 3'X6' 8" Opens into DINING_ROOM
DESCRIPTION QNTY REMOVE REPLACE TOTAL
2018-02-14-0755 10/17/2018 Page: 2

Case ID: 18110116€
Case 2:18-cv-05286-CFK Documenti1 Filed 12/07/18

Property Loss Advisors

Page 22 of 35

1101 Kathy Drive
Yardley, PA 19067

CONTINUED - Kitchen

DESCRIPTION ONTY REMOVE REPLACE TOTAL
R&R 1/2" blueboard - hung only (no tape or 144.34 SF 0.35 1.20 223.73
finish)
R&R Suspended ceiling system - 2' x 4 144.34 SF 0.32 3.04 484,98
R&R Fluorescent ~ two tube - 4' - fixture 1.00 EA 11.71 105.05 116.76
w/lens
R&R Two coat plaster (no lath) 191.31 SF 0.76 $.37 1,172.73
R&R Plastic laminate wall finish w/trim 382.61 SF 0.75 6.27 2,685.92
R&R Exterior door slab - solid core 1.00 EA 9.01 174.80 183.81
lauan/mah./birch - flush
Door Jockset - Detach & reset 2.00 EA 0.00 20.13 40.26
R&R Door opening (jamb & casing) - 2.00 EA 5,28 95.48 201.52
32"to36" wide - paint grade
Window trim set (casing & stop) 14,00 LF 0.00 3.35 46,90
R&R Baseboard - 5 1/4" w/shoe 45.31 LF 0.47 5.25 259.18
R&R Cabinetry - upper (wall) units 32.00 LF 6.31 116.50 3,929.92
R&R Cabinetry - full height unit 2.00 LF 7.57 262,35 539.84
R&R Cabinetry - lower (base) units LF 6.31 150.72 0.00
R&R Countertop - flat laid plastic laminate LF 3.63 41.35 0.00
R&R Tile floor covering 144.34 SF 2.11 10.12 1,765.28
Floor leveling cement - Average 144.34 SF 0.00 2.43 350.75
R&R 1/2" Cement board SF 0.70 4.24 0.00
R&R Underlayment - 1/2" BC plywood 144.34 SF 1.32 1,95 471.99
Sink - single - Detach & reset 1.00 EA 0.00 133.96 133.96
R&R Sink faucet - Kitchen 1.00 EA 15.77 208.33 224.10
R&R Ball valve - brass - 3/4" 2.00 EA 5.26 41,38 93,28
R&R Garbage disposer 1.00 EA 21.02 229.70 250.72
R&R Range - slide in - gas 1.00 EA 16.92 1,381.77 1,398.69
R&R Dryer - Gas 1.00 BA 16.92 954.74 971.66
R&R Built-in refrigerator - 36" 1,00 EA 91.37 2,492.84 2,584.21
R&R Washer/Washing Machine - Top- 1.00 EA 22.51 711.05 733.56
loading
Seal the walls and ceiling w/latex based stain 526.95 SF 0.00 0.49 258.21
blocker - one coat
Paint baseboard w/cap &/or shoe, oversized - 45.31 LF 0.00 1.47 66.61
2 coats
Paint door or window opening - 2 coats (per 2.00 EA 0.00 24,32 48.64
side)
R&R Radiant heat manifold - 4 loop 1.00 EA 30.03 530.81 560.84
2018-02-14-0755 10/17/2018 Page: 3

Case ID: 18110116§
Property Loss Advisors

Case 2:18-cv-05286-CFK Document 1 Filed 12/07/18 Page 23 of 35

1101 Kathy Drive
Yardley, PA 19067

CONTINUED - Kitchen

DESCRIPTION QNTY REMOVE REPLACE TOTAL
Prime & paint radiator unit 1.00 EA 0.00 50.36 50.36
Megohmmeter check electrical circuits - 3.00 EA 0.00 103.12 309.36
single circuit
General Demolition - per hour 2.00 HR 42,03 0.00 84.06
To remove debris and contents
Totals: Kitchen 20,241.83
| I ws
pate — ts ere 4 Dining Room Height: 8' 4"
] I ] 345.00 SF Walls 156.38 SF Ceiling
= = a. 5 = 501.37 SF Walls & Ceiling 156.38 SF Floor
| ne | | 17.38 SY Flooring 39.83 LF Floor Perimeter
L-pap—s —+ + to 48 47.67 LF Ceil. Perimeter
a
Missing Wall 3'X 84" Opens into STAIRS
Missing Wall - Goes to Floor 4°10" X 6' 8" Opens into LIVING_ROOM
Missing Wall - Goes to Floor 3° X 6' 8" Opens into LAUNDRY_ROOM
DESCRIPTION QNTY REMOVE REPLACE TOTAL
R&R Two coat plaster (no lath) 280.00 SF 0.76 5.37 1,716.40
Seal the walls and ceiling w/latex based stain 501.38 SF 0,00 0.49 245.68
blocker - one coat
Paint the walls and ceiling - two coats 501.38 SF 0.00 0.77 386.06
R&R Door opening Gamb & casing) - 2.00 EA 5.28 95.48 201,52
32"to36"wide - paint grade
R&R Casing - oversized - 3 1/4" 36.00 LF 0.43 2.45 103.68
Paint door or window opening - 2 coats (per 4,00 EA 0.00 24,32 97,28
side)
Window trim set (casing & stop) 14.00 LF 0.00 3.35 46.90
R&R Baseboard - 5 1/4" w/shoe 39.83 LF 0.47 5.25 227.83
Paint baseboard w/cap &/or shoe, oversized - 39,83 LF 0.00 1.47 58.55
2 coats
Interior door - Detach & reset 1.00 EA 0.00 62.65 62.65
R&R Radiant heat manifold - 2 loop 1,00 EA 24.11 402.75 426.86
Prime & paint radiator unit 1.00 EA 0.00 50.36 50.36
R&R Underlayment - 1/2" BC plywood 156.38 SF 1.32 1.95 $11.36
R&R 1/2" Cement board 156,38 SF 0.70 4.24 772.52
2018-02-14-0755 10/17/2018 Page: 4

Case ID: 18110116&
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 24 of 35

Property Loss Advisors

1101 Kathy Drive
Yardley, PA 19067

CONTINUED - Dining Room

DESCRIPTION QNTY REMOVE REPLACE TOTAL
R&R Tile floor covering 156.38 SF 2.11 10.12 1,912.53
Floor leveling cement - Average 156.38 SF 0.00 2.43 380,00
R&R 110 volt copper wiring run, box and 4.00 EA 4.50 64.91 277.64
outlet
Megohmmeter check electrical circuits - 1,00 EA 0.00 103,12 103.12
single circuit
General Demolition - per hour 2.00 HR 42.03 0.00 84.06
To remove debris and contents
Totals: Dining Room 7,665.00
aS Living Room Height: 8' 4"
re | 455.28 SF Walls 212.03 SF Ceiling

] | i fiiaten £5 667.31 SF Malls & Ceiling 212.03 SF Floor

 |/s 23.56 SY Flooring 53,67 LF Floor Perimeter

[| ‘| ge “nt | 58.50 LF Ceil. Perimeter

ery
Missing Wall 2°10" X 8' 4" Opens into STAIRS
Missing Wall - Goes to Floor 4°10" X6' 8" Opens into DINING_ROOM
DESCRIPTION QNTY REMOVE REPLACE TOTAL
R&R Two coat plaster (no lath) 126.00 SF 0.76 5.37 772,38
Seal the walls and ceiling w/latex based stain 667.31 SF 0.00 0.49 326.98
blocker - onc coat
Paint the wails - two coats 455.28 SF 0.00 0.77 350.57
R&R Suspended ceiling system - 2’ x 4’ 212.03 SF 0.32 3.04 712.42
R&R Door opening (jamb & casing) - 1.00 EA 5.28 95.48 100.76
32"to36" wide - paint grade
R&R Casing - oversized - 3 1/4" 42,00 LF 0.43 2.45 120.96
Paint casing - oversized - two coats 42.00 LF 0.00 1.19 49,98
R&R Baseboard - 5 1/4" w/shoe 53.67 LF 0.47 5.25 306.99
Paint baseboard w/cap &/or shoe, oversized - 53.67 LF 0.00 1.47 78.89
2 coats
R&R Radiant heat manifold - 8 loop 1.00 EA 41.86 804.36 846.22
Prime & paint radiator unit 1.00 EA 0.00 50.36 50,36
R&R Radiator cover - 23" to 32" tall 5.00 LF 2.11 69.66 358.85
R&R Underlayment - 1/2" BC plywood 212.03 SF 1.32 1.95 693.34
2018-02-14-0755 10/17/2018 Page: 5

Case ID: 18110116§
Case 2:18-cv-05286-CFK Documenti1 Filed 12/07/18

Page 25 of 35

Case ID: 18110116&

Property Loss Advisors
1101 Kathy Drive
Yardley, PA 19067
CONTINUED - Living Room
DESCRIPTION QNTY REMOVE REPLACE TOTAL
R&R. Oak flooring - #1 common - no finish 212.03 SF 1,97 7.25 1,954.92
Sand, stain, and finish wood floor 212.03 SF 0.00 3.97 841.76
Add for dustless floor sanding 212.03 SF 0.00 1.00 212.03
R&R 110 volt copper wiring run, box and 4,00 EA 4.50 64.91 277.64
outlet
Megohmmeter check electrical circuits - 1,00 EA 0.00 103.12 103.12
single circuit
Totals: Living Room 8,158.17
34 Stairs Height: 17'
201.48 SF Walls 24.00 SF Ceiling
aat| 2 225.48 SF Walls & Ceiling 52.13 SF Floor
peti 7 5.79 SY Flooring 23.01 LF Floor Perimeter
Fria | 16.17 LF Ceil. Perimeter
Z| Living Room
Missing Wall 2°10" X17' Opens into LIVING_ROOM
Missing Wall 2" X17' Opensinto Exterior
Missing Wall 3'X17' Opens into DINING_ROOM
DESCRIPTION QNTY REMOVE REPLACE TOTAL
Seal the walls w/latex based stain blocker - 201.48 SF 0.00 0.49 98.73
onc coat
Paint the walls - two coats 201,48 SF 0.00 0.77 155.14
Sand, stain, and finish steps and/or risers 15.00 LF 0.00 14.61 219.15
Paint balustrade - two coats 31.00 LF 0.00 22.02 682.62
Totals: Stairs 1,155.64
Total: First Floor 37,220.64
Second Floor
2018-02-14-0755 10/17/2018 Page: 6
Case 2:18-cv-05286-CFK Documenti1 Filed 12/07/18

Property Loss Advisors

Page 26 of 35

1101 Kathy Drive
Yardley, PA 19067

Bedroom 3

Height: 8'

ne

| 362.51 SF Walls 128.30 SF Ceiling

E ke erred 490.81 SF Walls & Ceiling 128.30 SF Floor

| 14.26 SY Flooring 45.31 LF Floor Perimeter

PRE te 45.31 LF Ceil. Perimeter
1 a
) =
DESCRIPTION QNTY REMOVE REPLACE TOTAL
R&R Underlayment - 1/4" lauan/mahogany 128.30 SF 1,32 1,62 377.21
plywood
Remove Viny] tile 128.30 SF 0.95 0.00 121.89
Remove Carpet 128.30 SF 0.23 0.00 29.51
Carpet 147.55 SF 0.00 3.01 444.13
15 % waste added for Carpet.
R&R Carpet pad 128,30 SF 0.10 0.56 84.68
R&R Two coat plaster over 1/2" gypsum 181.25 SF 0.92 7.03 1,440.94
core blueboard
R&R Baseboard - 5 1/4" 45.31 LF 0.43 3.66 185.31
R&R Interior door unit - High grade 1.00 EA 15.77 167.49 183,26
R&R Casing - oversized - 3 1/4" MDF 36.00 LF 0.43 2.21 95.04
w/detail
R&R Plinth block - 3/4" x 3 1/2" x 6 1/2" - 2.00 EA 1.80 10.13 23.86
Hardwood
R&R 110 volt copper wiring run, box and 2.00 EA 4.50 64.91 138.82
outlet
R&R Radiant heat manifold - 2 loop 1.00 EA 24.11 402.75 426.86
R&R Window trim set (casing & stop) - 16.00 LF 0.43 451 79.04
hardwood
Seal the walls w/latex based stain blocker - 362,51 SF 0.00 0.49 177.63
one coat
Paint the walls - two coats 362.51 SF 0.00 0.77 279.13
Paint door or window opening - 2 coats (per 3.00 EA 0.00 24,32 72.96
side)
Seal & paint baseboard, oversized - three 45.31 LF 0.00 1.80 81.56
coats
Prime & paint radiator unit 1.00 EA 0.00 50.36 50,36
Totais: Bedroom 3 4,292.19
2018-02-14-0755 10/17/2018 Page: 7

Case ID: 18110116&
Case 2:18-cv-05286-CFK Documenti1 Filed 12/07/18

Page 27 of 35

Property Loss Advisors

1101 Kathy Drive

Yardley, PA 19067

Hallway Height: 8'
397.33 SF Walls 88.63 SF Ceiling
485.97 SF Walls & Ceiling 88.63 SF Floor
9.85 SY Flooring 49.67 LF Floor Perimeter
49.67 LF Ceil. Perimeter
DESCRIPTION QNTY REMOVE REPLACE TOTAL
R&R Underlayment - 1/4" lauan/mahogany 88.63 SF 1.32 1.62 260.57
plywood
Remove Carpet 88.63 SF 0.23 0.00 20.38
Carpet 101.93 SF 0.00 3.01 306.81
15 % waste added for Carpet.
R&R Carpet pad 88.63 SF 0.10 0.56 58.49
R&R Two coat plaster over 1/2" gypsum 198.67 SF 0.92 7.03 1,579.43
core blueboard
R&R Baseboard - 5 1/4" 49.67 LF 0.43 3.66 203.15
R&R Casing - oversized - 3 1/4" MDF 36.00 LF 0.43 2.21 95.04
w/detail
R&R Plinth block - 3/4" x 3 1/2" x 6 1/2" - 2.00 EA 1.80 10.13 23.86
Hardwood
R&R 110 volt copper wiring run, box and 2.00 EA 4,50 64.91 138.82
outlet
Seal the walls w/latex based stain blocker - 397.33 SF 0.00 0.49 194.69
one coat
Paint the walls - two coats 397.33 SF 0.00 0.77 305.94
Paint door or window opening - 2 coats (per 3.00 EA 0.00 24.32 72.96
side)
Paint door slab only - 2 coats (per side) 3.00 EA 0.00 29,22 87.66
Door lockset - Detach & reset 1,00 BA 0.00 20.13 20.13
Seal & paint baseboard, oversized - three 49.67 LF 0.00 1.80 89.41
coats
Mask the walls per square foot - plastic and 397.33 SF 0.00 0.20 79.47
tape - 4 mil
Totals: Hallway 3,536.81
2018-02-14-0755 10/17/2018 Page: 8

Case ID: 181101168
Case 2:18-cv-05286-CFK Documenti1 Filed 12/07/18

Property Loss Advisors

Page 28 of 35

1101 Kathy Drive
Yardley, PA 19067

Bathroom

Height: 8'

208.00 SF Walls
249.56 SF Walls & Ceiling
4.62 SY Flooring
26.00 LF Ceil. Perimeter

41.56 SF Ceiling
41.56 SF Floor
26.00 LF Floor Perimeter

Hafiway  //
DESCRIPTION QNTY REMOVE REPLACE TOTAL
R&R Underlayment - 1/2" BC plywood 41.56 SF 1.32 1.95 135.90
R&R Mortar bed for tile floors 41.56 SF 1.14 4.78 246.04
Floor leveling cement - Light 41.56 SF 0.00 2.05 85.20
R&R Tile floor covering 41.56 SF 2.11 10,12 508.28
R&R Vinyl cove - 4" wrap 26.00 LF 1.64 7.75 244.14
Toilet - Detach & reset 1.00 EA 0.00 218.39 218.39
R&R Tub/shower faucet 1.00 EA 21.02 287.55 308.57
R&R Bathtub 1.00 EA 63.05 795,34 858.39
Sink - single - Detach & reset 1,00 BA 0.00 133.96 133.96
R&R Vanity 3.00 LF 6.31 132.81 417.36
Medicine cabinet - Detach & reset 1.00 EA 0.00 39.18 39.18
R&R Ceramic/porcelain tile 104.00 SF 1.52 11.95 1,400.88
R&R 1/2" Cement board 104.00 SF 0.70 4.08 497.12
Radiator cover - Detach & reset 2.00 LF 0.00 6.69 13.38
Plaster - Labor Minimum 1.00 EA 0.00 356.04 356.04
To repair wall and ready for paint
Seal part of the walls w/latex based stain 104.00 SF 0.00 0.49 50.96
blocker - onc coal
Paint part of the walls - two coats 104.00 SF 0.00 0.77 80.08
R&R Interior door unit 1.00 BA 15.77 153.28 169.05
Paint door slab only - 2 coats (per side) 1.00 EA 0.00 29.22 29,22
Paint door or window opening - 2 coats (per 2.00 EA 0.00 24.32 48.64
side)
Mask the walls per square foot - plastic and 208.00 SF 0.00 0.20 41.60
tape - 4 mil
Totals: Bathroom 5,882.38
2018-02-14-0755 10/17/2018 Page: 9

Case ID: 18110116§
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 29 of 35

Property Loss Advisors

1101 Kathy Drive
Yardley, PA 19067

Bedroom 2

Height: 8'

350.67 SF Walls
464.71 SF Walls & Ceiling
12.67 SY Flooring
43.83 LF Ceil. Perimeter

114.04 SF Ceiling
114.04 SF Floor
43.83 LF Floor Perimeter

DESCRIPTION QNTY REMOVE REPLACE TOTAL

R&R Underlayment - 1/4" lanan/mahogany 114.04 SF 1.32 1.62 335.27

plywood

Remove Carpet 114.04 SF 0.23 0.00 26.23

Carpet 131.15 SF 0.00 3.01 394.76

15 % waste added for Carpet.

R&R Carpet pad 114.04 SF 0.10 0.56 75,26

R&R Two coat plaster over 1/2" gypsum 175.33 SF 0.92 7.03 1,393.87

core blueboard

R&R Baseboard - 5 1/4" 43.83 LF 0.43 3.66 179,27

R&R Casing - oversized - 3 1/4" MDF 36.00 LF 0.43 2.21 95.04

w/detail

R&R Plinth block - 3/4" x 3 1/2" x 6 1/2" - 4.00 EA 1.80 10.13 47.72

Hardwood

R&R Interior door unit 2.00 EA 15.77 153.28 338.10

R&R 110 volt copper wiring run, box and 3,00 EA 4.50 64.91 208.23

outlet

Seal the walls w/latex based stain blocker - 350.67 SF 0.00 0.49 171.83

one coat

Paint the walls - two coats 350.67 SF 0.00 0.77 270.02

Paint door or window opening - 2 coats (per 3.00 EA 0.00 24.32 72.96

side)

Paint door slab only - 2 coats (per side) 2,00 EA 0.00 29,22 58.44

Door lockset - Detach & reset 2.00 EA 0.00 20.13 40.26

Seal & paint baseboard, oversized - three 43.83 LF 0.00 1.80 78.89

coats

Mask the walls per square foot - plastic and 350.67 SF 0.00 0.20 70,13

tape - 4 mil

Totals: Bedroom 2 3,856.28
2018-02-14-0755 10/17/2018 Page: 10

Case ID: 18110116§
Case 2:18-cv-05286-CFK Documenti1 Filed 12/07/18

Page 30 of 35

Property Loss Advisors

1101 Kathy Drive

Yardley, PA 19067
[t—
ire | <ot — ve—l Bedroom 1 Height: 8'
; 412.00 SF Walls 163.13 SF Ceiling

b

bm 1 11%
=
3
“Str ey

575.13 SF Walls & Ceiling

18.13 SY Flooring

51.50 LF Ceil. Perimeter

163.13 SF Floor
51.50 LF Floor Perimeter

DESCRIPTION QNTY REMOVE REPLACE TOTAL
R&R Underlayment - 1/4" lauan/mahogany 163.13 SF 1.32 1.62 479.60
plywood
Remove Carpet 163.13 SF 0.23 0.00 37.52
Carpet 187.59 SF 0.00 3.01 564.65
15 % waste added for Carpet.
R&R Carpet pad 163.13 SF 0.10 0.56 107.66
R&R Two coat plaster over 1/2" gypsum 206.00 SF 0.92 7.03 1,637.70
core blueboard
R&R Baseboard - 5 1/4" 51.50 LF 0.43 3.66 210.64
R&R Casing - oversized - 3 1/4" MDF 36.00 LF 0.43 2.21 95.04
w/detail
R&R Plinth block - 3/4" x 3 1/2" x 6 1/2" - 2.00 BA 1.80 10.13 23.86
Hardwood
R&R Interior door unit 2.00 EA 15.77 153.28 338.10
R&R Bypass (sliding) door set - Colonist 1.00 EA 12.62 148.59 161,21
R&R 110 volt copper wiring run, box and 2.00 EA 4.50 64.91 138.82
outlet
Seal the walls w/latex based stain blocker - 412,00 SF 0.00 0.49 201.88
one coat
Paint the walls - two coats 412.00 SF 0.00 0.77 317,24
Paint door or window opening - 2 coats (per 3.00 EA 0.00 24,32 72.96
side)
Paint door slab only - 2 coats (per side) 6.00 EA 0.00 29.22 175,32
Door lockset - Detach & reset 2.00 EA 0.00 20.13 40.26
Seal & paint baseboard, oversized - three 51.50 LF 0.00 1.80 92.70
coats
Mask the walls per square foot - plastic and 412.00 SF 0.00 0.20 82.40
tape - 4 mil
Totals: Bedroom 1 4,777.56
Miscellaneous
2018-02-14-0755 10/17/2018 Page: 11

Case ID: 18110116§
Case 2:18-cv-05286-CFK Document 1 Filed 12/07/18 Page 31 of 35

Property Loss Advisors
1101 Kathy Drive
Yardley, PA 19067
CONTINUED - Miscellaneous
DESCRIPTION QNTY REMOVE REPLACE TOTAL
Single axle dump truck - per load - including 2.00 EA 320.78 0.00 641.56
dump fees
General Demolition - per hour 16.00 HR 42.03 0.00 672.48
2 men 1 day
Residential Supervision / Project 32.00 HR 0.00 70.00 2,240.00
Management - per hour
Final cleaning - construction - Residential 1,500.00 SF 0.00 0.19 285.00
Totals: Miscellaneous 3,839.04
Total: Second Floor 26,184.26
Line Item Totals: 2018-02-14-0755 73,003.13
Grand Total Areas:
3,978.88 SF Walls 1,632.40 SF Ceiling §,611.28 SF Walls and Ceiling
1,660.52 SF Floor 184.50 SY Flooring 486.13 LF Floor Perimeter
0.00 SF Long Wall 0.00 SF Short Wall 494.96 LF Ceil. Perimeter
1,660.52 Floor Area 1,773.11 Total Area 3,712.12 Interior Wall Area
3,073.97 Exterior Wall Area 337,63 Exterior Perimeter of
Walls
0.00 Surface Area 0.00 Number of Squares 0.00 Total Perimeter Length
0.00 Total Ridge Length 0.00 Total Hip Length
2018-02-14-0755 10/17/2018 Page: 12

Case ID: 18110116&
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 32 of 35

Property Loss Advisors

1101 Kathy Drive

Yardley, PA 19067

Summary for Dwelling
Line Item Total 73,003.13
Material Sales Tax @ 8.000% x 28,444.51 2,275.56
Cleaning Mtl Tax @ 8.000% x 5.60 0.45
75,279.14
Overhead @ 10.0% x 75,279.14 7,527.91
Profit @ 10.0% x 75,279.14 7,527.91
Cleaning Sales Tax @ 8.000% x 490.38 39.23
Replacement Cost Value $90,374.19
Net Claim $90,374.19
John Brandes
2018-02-14-0755 10/17/2018 Page: 13

Case ID: 18110116&
Basement

2018-02-14-0755

Case 2:18-cv-05286-CFK Document 1 Filed 12/07/18 Page 33 of 35

"

en

N
T

Basement

10/17/2018 Page: 14

Case ID: 18110116&
First Floor

Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 34 of 35

2018-02-14-0755

Bll
wir =<
Fr —t
we
inion es, B\|z
e+ —t Sons =
a
staes | t
ta
j mr ein, =| |>
b| |e
& ie
fF.
| ice
wr

T
Fant Floor

10/17/2018 Page: 15

Case ID: 18110116£
Case 2:18-cv-05286-CFK Document1 Filed 12/07/18 Page 35 of 35

Second Fleor
WT
we
etre? b
%
&
Ce =
5
R & tio &
j re
TF 7
4
© panes é
toda 3 §
Herta
THT
Z|
ma
we
F Detersaid b
Tr —1 Ro
tT
fecond Fitor
20618-02-14-0755 10/17/2018 Page: 16

Case ID: 18110116§
